" Case 1:96-CV-OO437-W.]-LCS Document 141 Filed 08/10/05 Page 1 of 9

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UNITED 3};-§- L E D
IN THE lJNITED STATES DISTRlCT Can'rinaw;w,__H § 5 3'§;$?{- eoum
EX|
FOR THE Dls'rR`-ICT oF NEW MExlco AUG 1 0 2005 §§

niAMOND BAR CATrLE COMPANY
and LANEY CATTLE COMPANY MATTH EW J DY

CLERK KMAN

Plaintiffs,

vs. _- CIVIL NO. 96-437 W]/LCS

UNITED STATES OF AMERICA;
ANN VENEMAN, Secretary of
the United States Department of
Agrieu|ture; and U.S.D.A.
Forest Service,

Defendants.

CONSENT lUDGMENT ON FINAL DAMAGES

This matter coming before the,-_Clourt on the stipulation of the parties, the Court
being fully infomied in the premises. and Kit and Sherry l.aney, Diam<)nd Bar Cattle Co. and
Laney Cattle Co. (ct)llectively the "Laneys") having withdrawn all objections to the United
States' Motit)n for Final Dalnages (including Docl<et Nos. -l 16, lZO, 121, 124, 125, and 136) and
having conseiited to entry of judgment for damages against.them, jointly and severally, as set
forth herein; and in addition, the Laneys agreeing to comply with all Orders and judgments
heretofore entered in this case and Orders and judgments that may be entered hereafter; all
parties indicating their agreement and consent to judgment being entered as set forth herein;

IT IS THEREFORE, ORDERED, AD]UDGED, AND DECREED that as to the
United States' Motion for Final Damages judgment be and hereby is granted in its entirety and

judgment is entered, jointly and severally, against Kit and Sherry Laney, Diamond Bar Cattle Co.

and Laney Cattle Cc). (collectively the “l_.aneys") in the amount of $437.816.27. The Court's

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previous Partial judgment on damages [Docl<et bid l l l] remains in full force and effect, and is
in addition to this Consent judgment.

IT IS FURTHER ORDERED. ADjUDGED AND DECREED THAT that the
United States shall retain the proceeds realized from the sale of the Laneys' impounded cattle in n
the amount of $200,800.50, that amount to be credited against the $43?.816.2? awarded by this
Consent judgment. Interest shall run on the unpaid balance of $237,013.77 pursuant to 28

U.S.C. §1961.

The Court retains jurisdiction to enforce provisions of this Consent judgment and

all other Orders and judgments entered in this case.

UNlTED STAT ES DISTR'I CUDGE

APPROVED:

AVID C. IGLE AS
Unite flaws A torney

/ <=i""'_
ch\vARD R. THOMAS salazar FARR, Pm se
Assistant U.S. Attorney
P.O. Box 607
Albuquerque, NM 87102
(505) 346-7274

Dated: Z/S. f 61 Dated:

 

 

 

 

KIT LANEY, Pro Se

Dated:

 

" .i . ` Case 1:96-CV-OO437-W.]-LCS Document141"Filed 08/10/05 Page 3 of 9

DIAMoND BAR cATrLE CO., by _
lts general partners, Kit l.aney and Sherry
Farr: in

 

SHEl-{RY FARR, General Partner, Diamond`
Bar Cattle Co.
Dated:

 

KlT LANEY, General Partner, Diamond Bar
Cattle Co.
Dated:-

 

Counsel for Diamond Bar Cattle Company .

Dated:

 

LANE\;' CAT'I`LE CO., by
Its general pattners, Kit l.aney and Sherry
Farr:

 

SHERRY FARR, General Partner, Laney
Cattle Co.
D£ltct'l: '

 

KIT LANEY. General Partner, Lan€y
Cattle Co.
Dated:

 

 

Counsel for Laney Cattle Company

' Dated:'

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' Case 1:96-CV-OO437-W.]-LCS Document 141 Filed 08/10/05 Page 4 019 '

NOTE: Approval to submit this Consent
judgment with taxed signatures appended
was granted on August 5, 2.005 by the

ch 1bet‘s o m P. johnson. United
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e»-- §"5” as?/
Howard/ R. Thomas
Assistant U.S. Attorney

 

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Case 1: 96- -C\/- 00437- W.]- LCS Document 141 Filed 08/10/05 Page 5 of 9

 

previous Pmai Judgmem On damages media NO. 1111 remains-in ali force and cases and a
in addition to this Consent judgment.

lT IS FURTH ER ORDERED, ADjUDGED AND DECREED THAT that the
Uniced Stares-shall retain the proceeds realized from the sale of the Laneys’ impounded cattle in
the amount of $200,800.50, that amount to be credited against the $437,816.2? awarded by this

Consent judgment. Intercst shall run on the unpaid balance of $237,015.77 pursuant to 28

U.S.C. §1961.
The Court retains jurisdiction to enforce provisions of this Consent judgment and

all other Orders and judgments entered in this case.

 

UNI'I`ED S'I`ATES DISTRICT jUDGE
APPROVED:

DAVID C. IGLESIAS
United States Attorney

HOWARD R. THOMAS JJERRY FAR%, Pm se `_

Assistant U.S. Attorney
P.O. Box 607
Albuquerque, NM 87102
(505} 346-7274

Datcd: Dat¢d=M_aj_r&@ Q§:

 

 

 

KlT LANEY, Pro Se

Dated:

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previous Fartial ]udg'mcnt on damages |Dnc.ket No. 1 l l]- remains ir1_ t‘uii force and ef[ccr., and 1'=1`
in addition to'th_is Conse.nr. judgmcnt. n n _-

-IT IS FUR']'HER ORDERED, A.L)le[JGED AND DF,CREED THAT that the
U11iu:d Smlts shall retain r.he proceeds realized from the sale iit:th(: I.urii_-ys' impounded cattle in
rh¢.. amount ol $_ZOU BQO. 50 that amount to be credited against the_ $43?, 8 lo. 27 awarded lay this n
Conscnr ]udgmenr. interest shall r__un tm the unpaid balance of $?;37. 015. 77 pursuant to 25
' U. S.C. 519151. \

` The. Court rcrains j 111-isdierion rn enforce provisions `i'it` this_Consenr.judgment and '

ail other Orderu and judgments enrered in 111 is rase. -

 

UNrrED STATEs nis'rait:r io`oo`i;"
APPRovuo=_'

|)AVID C. IGLESIAS
Unirr.-d Srates Attorney

uowARr) a. TnoMAs s"r`ieanr FARR. Pw se
Aluisr.mr_ U.S. Attorney ' _ . - n

P.<_). am sur . . _ _
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1505) 340-?2?4

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.. ._.__

DIAMOND BAR CATI`LE CO.. by
lts general partners, Kit Lancy and Sherry

Farr: 1 _

j .
SHERRY FA% Gencral Partner, Diamond
Bar Cattle Co. l

Dated:__J_LLa_ch ag`g,§

 

! _ KIT LA.NEY, General Partner, Diamond Bar
' ' Cattle Co.
Dated:

'//3@2//1 /Q@-

€bunsel for Diamo@ B Cattle Company

need Z/§'/o C'-

LANEY cA'r'rLE Co., by `
Its general partners. Kit Laney and Sherry
Farr:

S_HERRY FARR RRgGeneral Fartner, Laney

Cattle Co.

Dated: ’j-E|"ih! 33 goods

KIT LANEY, Geneial Partner, I.aney
Cattle Co.
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dounselfor Laney ttl Company

' _ Dated: §/v(; Ol(_

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DIAMOND BAR CAT'TLE CO., by
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Farr: '

 

SHERRY FAR.B., Gcnh¢':ral Fartm:r, Dl`a mood
Bar Car_tl\: Co.

 

 

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Dated: .Auggst B, 2005_ m

Thomas D. Lustig

Michael A. Saul

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§ Counsel for Intervemors Na.tional Wildlit`e
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of Trout Unlimited; Wilderness Watch.
and Center For Biological Diversity

